UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
KEN WARREN, )
)
)
Plaintiff, )
)
VS. ) Cause No.:
)
)
CARDOZA PUBLISHING, INC., and __)
AVERY CARDOZA )
)
)
Defendants.
)
Serve: Avery Cardoza )
5473 S. Eastern Avenue )
Las Vegas, Nevada 89119 )
)
Cardoza Publishing )
c/o Avery Cardoza )
5473 S. Eastern Avenue )
Las Vegas, Nevada 89119 )
)

PLAINTIFF’S COMPLAINT FOR DAMAGES
COUNT I- BREACH OF CONTRACT

COMES now plaintiff KEN WARREN, by and through his undersigned counsel,
The Law Offices of Jeffrey M. Witt, LLC, and for his Complaint for damages, states as
follows:

1. Plaintiff is an individual domiciled in the County of St. Charles, State of
Missouri.

2. Defendant is a foreign corporation organized and existing under the laws of the
State of New York, with its principal place of business located at 132 Hastings Street,
Brooklyn, New York 11235.
3. Venue is proper in the Eastern District of Missouri in that the contract that
forms the basis of plaintiffs claims was executed in the Eastern District of Missouri.

4. The amount in controversy is in excess of $75.000.00.

5. On February 1, 2003, plaintiff and defendant, through defendants’ authorized
agent, Avery Cardoza, executed a document entitled “Cardoza Publishing Book
Contract.” A copy of said contract is attached hereto and incorporated herein by reference
as plaintiff's Exhibit #1.

6. Paragraph 5 of the contract states as follows: “The Publisher shall pay the
Author the following royalties on sales (less returns): (a) Sales of paperback (trade and/or
mass market) in the United States — 6% of the retail price for all copies sold; (b) Sales of
hardcover (if applicable) in the United States — 7.5% of the retail price for all copies sold;
(c) Sales of paperback and hardcover outside the United States — 50% of the normal
royalty for all copies sold....

7. Defendant, through its duly authorized agent, Avery Cardoza, has published
and sold plaintiff's books in the United States and abroad.

8. Defendant, through its duly authorized agent, Avery Cardoza, has failed to pay
royalties to plaintiff under the express terms of the contract.

9. Plaintiff has paid, and defendant has received, good and valuable consideration
under the express terms of the contract.

10. Defendant, in failing to pay plaintiff all sums due plaintiff, breached the
contract.

11. As a direct and proximate result of defendant’s breach of contract, plaintiff
sustained damages in excess of $1,000,000.00.

WHEREFORE, plaintiff prays for judgment against defendant in an amount that
is fair and reasonable in excess of $75,000.00, plus plaintiff's costs and attorney’s fees
expended herein.

COUNT I —- UNJUST ENRICHMENT

12. Plaintiff realleges and incorporates by reference each and every allegation
contained in Count I of plaintiff's Complaint as though fully set forth here.

13. Defendant, in retaining monies from the sale of plaintiff's books, both

domestically and abroad, has been enriched by the receipt of a tangible benefit.
14. Defendant’s enrichment of a tangible benefit was at plaintiff's expense.

15. Under the facts as alleged herein, it would be unjust and unconscionable to
allow defendant to retain the tangible benefit which defendant has received.

16. As a direct and proximate result of defendant’s unlawful action, plaintiff
sustained damages in excess of $1,000,000.00.

WHERE FRORE, plaintiff prays for judgment against defendant in an amount
that is fair and reasonable in excess of $75,000.00, plus plaintiff's costs and attorney’s
fees expended herein.

COUNT III - CONVERSION

17. Plaintiff realleges and incorporates by reference each and every allegation
contained in Count I and Count II of plaintiff's Complaint as though fully set forth here.

18. At all times herein relevant, defendant Avery Cardoza was the authorized
agent for Cardoza Publishing Inc.

19. Defendant Avery Cardoza took unlawful possession of book royalties that
lawfully belonged to plaintiff, and defendant Avery Cardoza’s taking of plaintiff's
royalties was without a legal claim of right.

20. Defendant Avery Cardoza has failed to turn over to plaintiff royalties that are
the lawful property of plaintiff, despite plaintiff's repeated demands for payment.

21. As a direct and proximate result of Defendant Avery Cardoza’s actions,
plaintiff sustained damages in excess of $1,000,000.00.

WHERE FORE, plaintiff prays for judgment against defendant Avery Cardoza in
an amount that is fair and reasonable in excess of $75,000.00, plus plaintiff's costs and
attorney’s fees expended herein.

COUNT IV- ACCOUNTING

22. Plaintiff realleges and incorporates by reference each and every allegation
contained in Count I, Count IT and Count III of plaintiff's Complaint as though fully set
forth here.

23. Plaintiff and defendant Avery Cardoza entered into a fiduciary relationship
wherein defendant served as plaintiff's agent.

24. Plaintiff and defendant Cardoza Publishing Company, entered into a fiduciary

relationship wherein Cardoza Publishing serves as plaintiffs agent.
Case: 4:10-cv-01353-SNLJ Doc. #: 1 Filed: 07/26/10 Page: 4 of 4 PagelD #: 4

25. Defendants caused plaintiff's books to be sold in the United States and abroad
and defendants have failed to remit royalties to plaintiff

26. Defendants are indebted to plaintiff in an amount that can only be ascertained
by an accounting. .

WHEREFORE, plaintiff prays for an Order directing defendants to account for

all sums received from sales of plaintiff's books in the United States and abroad.

Respectfully submitted,

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